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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Jointly Administered)
                                                           Requested Hearing Date: August 30, 2023 at 3:00 pm
                                                                 Requested Objection Deadline: At the hearing

              MOTION TO SHORTEN NOTICE AND SCHEDULE EXPEDITED
               HEARING ON DEBTORS’ EMERGENCY MOTION TO ASSUME
              AND/OR ENTER INTO REIMBURSEMENT AGREEMENTS WITH
               PROFESSIONALS FOR THE AD HOC NOTEHOLDER GROUP

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this motion (this “Motion”) to shorten notice and schedule an expedited hearing on the Debtors’

Emergency Motion to Assume and/or Enter Into Reimbursement Agreements With Professionals

for the Ad Hoc Noteholder Group [Docket No. 148] (the “Bondholder Fee Motion”). In support

of this Motion, the Debtors rely upon and refer this Court to the Declaration of Han Kieftenbeld

in Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First Day Declaration”),

incorporated herein by reference.

                                          Jurisdiction and Venue

         1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 9013-1(f) of the



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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.



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Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to shorten to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The bases for the relief requested herein are section 105(a) of chapter 11 of title 11

of the United States Code (the “Bankruptcy Code”), Federal Rule of Bankruptcy Procedure

9006(c)(1) (the “Bankruptcy Rules”), and Local Rule 9006-1(e).

                                             Background

        4.       On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”). The Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for the

appointment of a trustee or examiner has been made in the Chapter 11 Cases, and no committees

have been appointed or designated.

        5.       Amyris was founded in 2003 to create a more stable supply of a key anti-malarial

treatment. Through Amyris’s cutting-edge science, artemisinin—the most effective anti-malarial

drug in the world—is now consistently available to treat the deadly disease. Using the same

technological innovations that produced artemisinin, Amyris has become the world’s leading

manufacturer of ingredients made with synthetic biology. Amyris provides sustainable ingredients

that are eco-friendly alternatives to raw material sourced for flavors and fragrances, sweeteners,

cosmetics, pharmaceuticals, and other consumer products. A detailed description of the Debtors’



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business and facts precipitating the filing of the Debtors’ chapter 11 proceedings are set forth in

the First Day Declaration.

                                               Relief Requested

        6.       The Debtors seek entry of an order pursuant to Bankruptcy Rule 9006(c)(1) and

Local Rule 9006-1(e), substantially in the form attached hereto as Exhibit A, shortening the notice

period and scheduling an expedited hearing on August 30, 2023, at a time convenient for the Court

(the “Hearing”), with objections, if any, to be filed before or made at the Hearing, with respect to

the Bondholder Fee Motion.2

Basis for Relief

        7.       Bankruptcy Rule 9006 provides that the Court may, for cause shown, shorten the

otherwise applicable notice period for motion papers. Fed. R. Bankr. P. 9006(c)(1) (“when an act

is required or allowed to be done at or within a specified time by these rules or by a notice given

thereunder or by order of court, the court for cause shown may in its discretion with or without

motion or notice order the period reduced”). Rule 9006-1(c)(i) of the Local Rules provides that

“all motion papers shall be filed and served in accordance with Local Rule 2002-1(b) at least

fourteen (14) days prior to the hearing date.” Del. Bankr. LR 9006-1(c)(i). Local Rule 9006-1(e)

provides in pertinent part that “[n]o motion will be scheduled on less notice than required by these

Local Rules or the Fed. R. Bankr. P. except by order of the Court, on written motion (served on

all interested parties) specifying the exigencies justifying shortened notice.” Del. Bankr. LR 9006-

1(e).




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    Capitalized terms not otherwise defined in this Motion to Shorten shall have the meanings given in the Bondholder
    Fee Motion.

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        8.       The exigencies justify shortening notice of the Bondholder Fee Motion. In March

of 2023, a group of holders of the Debtors’ Convertible Notes formed and retained Paul Hastings

as its legal counsel for the purpose of addressing the Debtors’ financial condition and performance

under the Convertible Notes. Recognizing that holders of the Convertible Notes represent the

Debtors’ single-largest creditor constituency, the Debtors and the Debtors’ prepetition secured

lenders began to work consensually with the Ad Hoc Noteholder Group prior to the Petition Date.

As of August 23, 2023, the Ad Hoc Noteholder Group represents holders of approximately 65%

of the $690 million in principal of Convertible Notes.

        9.       Since the Petition Date, the Debtors have been in discussions with key stakeholders,

including Foris and its affiliates, in their capacity as Foris Prepetition Secured Lenders and as DIP

Secured Parties (as each such term is defined in the DIP Financing Motion), and the Ad Hoc

Noteholder Group, regarding the terms of a comprehensive and consensual restructuring of the

Debtors through these Chapter 11 Cases. Importantly, pursuant to the terms of the DIP Financing,

these discussions are occurring within a compressed time frame—from the Petition Date through

September 13, 2023 (the “Compensation Period”). Because the Compensation Period is fast

approaching, accordingly, the Debtors seek expedited consideration of the Bondholder Fee Motion

at an emergency hearing before the Court on August 30, 2023.

        10.      The Debtors are serving out the Bondholder Fee Motion on the Notice Parties

(defined below) via email, if available, or overnight mail.

        11.      For these reasons, the Debtors request that the Court shorten the notice required for

a hearing on the Bondholder Fee Motion so that the Bondholder Fee Motion may be heard at a

hearing on August 23, 2023, at a time convenient for the Court, with objections, if any, to be filed

before or made at the Hearing.



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                                  Local Rule 9006-1(e) Averment

        12.      On August 24, 2023, Debtors’ counsel contacted the Office of the United States

Trustee (“UST”) and counsel to the Lenders, regarding the Debtors’ expedited request for

consideration of the Bondholder Fee Motion before filing this Motion to Shorten. The UST has

indicated that it does not object to the timing, and the Lenders have indicated their support with

the Motion to Shorten.

                                               Notice

        13.      The Debtors will provide notice of this Motion to Shorten to (a) the Office of the

U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured claims against

the Debtors (on a consolidated basis); (c) counsel to the DIP Lenders, DIP Agent, and the Foris

Prepetition Secured Lenders, Goodwin Procter LLP, 620 Eighth Avenue, New York, NY 10018,

Attn: Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com) and Alexander J. Nicas, Esq.

(anicas@goodwinlaw.com); (d) co-counsel to the DIP Lenders, the DIP Agent, and the Foris

Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite

5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn: David M. Fournier,

Esq. (david.fournier@troutman.com); (e) the United States Attorney’s Office for the District of

Delaware; (f) the state attorneys general for all states in which the Debtors conduct business; and

(g) any party that requests service pursuant to Bankruptcy Rule 2002 (the “Notice Parties”).

        14.      After entry of an Order on this Motion to Shorten, the Debtors will serve notice of

the hearing on Bondholder Fee Motion on the Notice Parties by email, fax or overnight mail. The

Debtors submit that, in light of the nature of the relief requested, no other or further notice need

be given.




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                                         No Prior Request

        15.      No prior request for the relief sought in this motion to shorten has been made to

this or any other court.

        WHEREFORE, the Debtors request entry of the proposed order, substantially in the form

attached hereto as Exhibit A, (a) granting the relief requested herein and scheduling an expedited

hearing on August 30, 2023, and (b) granting such other relief as the Court deems appropriate

under the circumstances.

 Dated: August 25, 2023                          PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neil
                                                 Richard M. Pachulski (admitted pro hac vice)
                                                 Debra I. Grassgreen (admitted pro hac vice)
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                                                 Proposed Counsel to the
                                                 Debtors and Debtors in Possession




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